 

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America Case: 1:22-mj-00050
Vv. ) Assigned To : Faruqui, Zia M
: ) Assign. Date : 3/3/2022

Mandy Robinson-Hand \ Description: COMPLAINT W/ ARREST WARRANT
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Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

Mandy Robinson-Hand

(name of person to be arrested)
g document filed with the court:

who is accused of an offense or violation based on the followin

© Information C1 Superseding Information MJ Complaint

1 Indictment O Superseding Indictment
O Order of the Court

1 Probation Violation Petition O Supervised Release Violation Petition O Violation Notice

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building

Res Zia M. Faruqui
ce 2022.03.04 21:15:34 -05'00'

 

 

Date: __-03/04/2022 a F
Issuing officer's signature
City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate J udge

Printed name and title

 

Return

 

This warrant was received G (date) 3/4 | ue , and the person was arrested on (date) 3 { IN | (ul eo

at (city and state) QyuEer,

Sin ie mec eo

Date:
Arresting officer’s signature

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Printed name and title

 

 

 
